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CARLIE CHRISTENSEN, United States Attorney (#633) RECEIVED

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Salt Lake City, Utah 84111 U.S. MAGISTRATE
Telephone: (801) 524-5682 * Fax: (801) 325-3387 DGE

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

UNITED STATES OF AMERICA, _
MAGISTRATE NO. 2! 10- Mj- 309 WJ

Plaintiff,
COMPLAINT
VS.
: VIO. 18 U.S.C. § 1073
MARIO PERAZA-ARMENTA, UNLAWFUL FLIGHT TO AVOID
: PROSECUTION
Defendant.

Before the United States Magistrate Judge for the District of Utah, appeared the

undersigned, who on oath deposes and says:
COUNT |
On or about February 7, 1996, in the Central Division of the District of Utah,
MARIO PERAZA-ARMENTA,

defendant herein, did, move and travel in interstate commerce, to wit, from Salt Lake
County, Utah, in the Central Division of the District of Utah, to a point outside the State
and District of Utah, with intent to avoid prosecution under the laws of the State of Utah
for the offense of Criminal Homicide, a first degree felony in violation of Utah Code
Annotated Section 76-5-203 all in violation of Title 18 United States Code Section 1073.

Complainant states that this complaint is based on information obtained through

investigation consisting of the following:
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1. Communication with the Salt Lake Police Department, who advised that
from investigation conducted by their office, they have determined that the defendant
has fled from Utah, and subject is believed to be in Mexico.

2. Personal examination of the certified copy of the State process charging
Mr. Mario Peraza-Armenta, with one violation of UCA 76-5-203, has taken place.

Copies are attached hereto.

BRIANYOUNG © ©
United States Marshals Service

SWBSCRIBED AND SWORN TO BEFORE ME this | Sday of
0 Se 2010.

United States Magistrate Judge : : “
APPROVED: mo

CARLIE CHRISTENSEN . ;
United States Attorney . wo,

Dt Op

STANLEY H. OLSEN
Assistant United States Attorney

a0 267, .. , Case 2:10-mj-00309-DN Document 1 Filed 11/15/10 PagelD.3 Page 3 of 3 PER 18US.c. 3170
DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION — IN U.S. DISTRICT COURT

BY. C]comeLaint INFORMATION [inpicTMENT "_Name of District Court, and/or Judge/Magistrate Location (City)

~~ OFFENSE CHARGED CENTRAL - DISTRICT OF UTAH

Unlawful Flight to Avoid Pr Ss
U g ° ecution DEFENDANT — U.S. vs.
, LL Petty f
LJ Minor @ MARIO PERAZA-ARMENTA,
tL Misde- t
meanor
LWJ Felony Address
Place of offense U.S.C. Citation Birth xX Mal Lt ali
Central Division . D | 11/20/1970 are ren
District of Utah 18 :1073 ae J UJ Femate (if applicable)
(Optional unless a juvenile}
PROCEEDING oo DEFENDANT
Name of Complainant Agency, or Person (& Title, if any) IS NOT IN CUSTODY
i 1) [-] Has not been arrested, pending outcome this proceeding
l Brian Young, USMS . } lf not detained give date any prior summons
: was served on above charges |
LJ person is awaiting trial in another Federal or State Court, 2) CO Is a Fugitive .
give name of court 3) (_] Is on Bail or Release from (show District)
| . J l 5
[| this person/proceeding is transferred from another district
- per {circle one) FRCrP 20, 21 or 40. Show District IS IN CUSTODY
4) [_] On this charge
l — 5)[_] On another conviction | C1 Fea't (state
|] this is a reprosecution of charges 6)[_] Awaiting trial on other charges oo
previously dismissed which were SHOW If answer to (6) is ““Yes’’, show name of institution
dismissed on motion of:
f ] U.S. Att'y [_ ]Defense DOCKET NO. | |
| this prosecution relates to a pending Has detainer LI Yes I ie date
case involving this same defendant L J _ been filed? — Lt No fied i —
C1 pri . | MAGISTRATE
prior proceedings or appearance(s) ; CASE NO Mo. Day Year
before U.S. Magistrate regarding. . DATE OF
Lo this defendant were recorded under ARREST
Or... if Arresting Agency & Warrant were not Federal
Name and Office of Person Mo. Day Year
Furnishing Information on ' DATE TRANSFERRED /)
THIS FORM Carlie Christensen TO U.S. CUSTODY 5
Sus. Att'y uyOther U.S. Agency \
Name of Asst. U.S. Att'y STANLEY H. OLSEN / : :
(if assigned} LW } (J This report amends AO 257 previously submitted

| ADDITIONAL INFORMATION OR COMMENTS
